                                   Case 2:22-cv-07831-MEMF-KS Document 7 Filed 11/03/22 Page 1 of 8 Page ID #:59




                                     1 GOODMAN LAW FIRM, APC
                                     2 Brett B. Goodman (SBN 260899)
                                         11440 W. Bernardo Ct., Suite 300
                                     3 San Diego, CA 92127
                                         858.757.7262 Direct
                                     4 858.757.7270 Facsimile
                                         brett@goodmanlawapc.com
                                     5
                                       Attorneys for Defendant
                                     6 AFNI, Inc.
                                     7
                                     8
                                                               UNITED STATES DISTRICT COURT
                                     9
                                                           CENTRAL DISTRICT OF CALIFORNIA
                                    10
                                    11    JOSE ALARCON,                      CASE NO.: 2:22-cv-7831-MEMF-KS
                                    12
11440 W. Bernardo Ct., Suite 300




                                                      Plaintiffs,            DEFENDANT AFNI, INC.’S
    GOODMAN LAW FIRM, APC




                                    13
     San Diego, CA 92127




                                                                             ANSWER TO THE COMPLAINT
                                                v.
                                    14
                                    15    AFNI, INC., SPRINT
                                          CORPORATION, and T-MOBILE
                                    16
                                          USA, INC.,
                                    17
                                                       Defendants.
                                    18
                                    19

                                    20
                                    21
                                    22
                                    23
                                    24
                                    25
                                    26
                                    27
                                    28

                                                                              1
                                                                            ANSWER
                                   Case 2:22-cv-07831-MEMF-KS Document 7 Filed 11/03/22 Page 2 of 8 Page ID #:60




                                     1 TO THE HONORABLE JUDGE OF SAID COURT:
                                     2         COMES NOW, Defendant AFNI, Inc. (“AFNI”) and files its Answer to
                                     3 Plaintiff Jose Alarcon (“Plaintiff”)’s Complaint as follows:
                                     4                                   INTRODUCTION
                                     5 1.      AFNI admits Plaintiff brings an action under the Fair Debt Collection Practices
                                     6 Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”), the Rosenthal Fair Debt Collection
                                     7 Practices Act, Cal. Civ. Code § 1788 et seq. (the “RFDCPA”), and the California
                                     8 Identity Theft Law, Cal. Civ. Code §§ 1798.92, et seq. (the “CITL”). AFNI denies
                                     9 any violation of these statutes. AFNI further denies that Plaintiff is entitled to any
                                    10 relief or damages sought against it.
                                    11 2.      AFNI lacks knowledge or information sufficient to form a belief about the truth
                                    12 of Paragraph 2; therefore, it denies the same.
11440 W. Bernardo Ct., Suite 300
    GOODMAN LAW FIRM, APC




                                    13 3.      AFNI admits Plaintiff brings an action under the Fair Debt Collection Practices
     San Diego, CA 92127




                                    14 Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”), the Rosenthal Fair Debt Collection
                                    15 Practices Act, Cal. Civ. Code § 1788 et seq. (the “RFDCPA”), and the California
                                    16 Identity Theft Law, Cal. Civ. Code §§ 1798.92, et seq. (the “CITL”). AFNI denies
                                    17 any violation of these statutes. AFNI further denies that Plaintiff is entitled to any
                                    18 relief or damages sought against it.
                                    19                               JURISDICTION AND VENUE
                                    20 4.      AFNI admits Plaintiff brings an action under the Fair Debt Collection Practices
                                    21 Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”), the Rosenthal Fair Debt Collection
                                    22 Practices Act, Cal. Civ. Code § 1788 et seq. (the “RFDCPA”), and the California
                                    23 Identity Theft Law, Cal. Civ. Code §§ 1798.92, et seq. (the “CITL”). AFNI denies
                                    24 any violation of these statutes. AFNI further denies that Plaintiff is entitled to any
                                    25 relief or damages sought against it.
                                    26 5.      AFNI lacks knowledge or information sufficient to form a belief about the truth
                                    27 of Paragraph 5; therefore, it denies the same.
                                    28 / / /

                                                                                   1
                                                                                ANSWER
                                   Case 2:22-cv-07831-MEMF-KS Document 7 Filed 11/03/22 Page 3 of 8 Page ID #:61




                                     1 6.      AFNI lacks knowledge or information sufficient to form a belief about the truth
                                     2 of Paragraph 6; therefore, it denies the same.
                                     3 7.      AFNI lacks knowledge or information sufficient to form a belief about the truth
                                     4 of Paragraph 7; therefore, it denies the same.
                                     5                                           PARTIES
                                     6 8.      AFNI admits Plaintiff is a natural person. AFNI denies attempting to collect an
                                     7 unauthorized debt from Plaintiff. AFNI lacks knowledge or information sufficient to
                                     8 form a belief about the truth of the remainder of Paragraph 8; therefore, it denies the
                                     9 same.
                                    10 9.      AFNI admits Paragraph 9.
                                    11 10.     AFNI lacks knowledge or information sufficient to form a belief about the truth
                                    12 of Paragraph 10; therefore, it denies the same.
11440 W. Bernardo Ct., Suite 300
    GOODMAN LAW FIRM, APC




                                    13 11.     AFNI lacks knowledge or information sufficient to form a belief about the truth
     San Diego, CA 92127




                                    14 of Paragraph 11; therefore, it denies the same.
                                    15 12.     AFNI lacks knowledge or information sufficient to form a belief about the truth
                                    16 of Paragraph 12; therefore, it denies the same.
                                    17 13.     AFNI lacks knowledge or information sufficient to form a belief about the truth
                                    18 of Paragraph 13; therefore, it denies the same.
                                    19 14.     AFNI admits that, as a corporation, it can only act through its agents,
                                    20 employees, officers, members, directors, heirs, successors, assigns, principals,
                                    21 trustees, sureties, subrogees, representatives, and insurers, but only to the extent that
                                    22 they act upon and within their scope of authority.
                                    23                                 FACTUAL ALLEGATIONS
                                    24 15.     AFNI repeats the above responses as if fully set forth herein.
                                    25 16.     AFNI lacks knowledge or information sufficient to form a belief about the truth
                                    26 of Paragraph 16; therefore, it denies the same.
                                    27 17.     AFNI lacks knowledge or information sufficient to form a belief about the truth
                                    28 of Paragraph 17; therefore, it denies the same.

                                                                                    2
                                                                                ANSWER
                                   Case 2:22-cv-07831-MEMF-KS Document 7 Filed 11/03/22 Page 4 of 8 Page ID #:62




                                     1 18.    AFNI lacks knowledge or information sufficient to form a belief about the truth
                                     2 of Paragraph 18; therefore, it denies the same.
                                     3 19.    AFNI admits that it attempted to collect an unpaid financial obligation owed
                                     4 by Plaintiff.
                                     5 20.    AFNI admits that it sent a letter to Plaintiff regarding the unpaid financial
                                     6 obligation at issue.
                                     7 21.    AFNI denies Paragraph 21 as to itself. AFNI lacks knowledge or information
                                     8 sufficient to form a belief about the truth of the remainder of Paragraph 21; therefore,
                                     9 it denies the same.
                                    10 22.    AFNI lacks knowledge or information sufficient to form a belief about the truth
                                    11 of Paragraph 22; therefore, it denies the same.
                                    12 23.    AFNI denies Paragraph 23 as to itself. AFNI lacks knowledge or information
11440 W. Bernardo Ct., Suite 300
    GOODMAN LAW FIRM, APC




                                    13 sufficient to form a belief about the truth of the remainder of Paragraph 23; therefore,
     San Diego, CA 92127




                                    14 it denies the same.
                                    15 24.    AFNI denies Paragraph 24 as to itself. AFNI lacks knowledge or information
                                    16 sufficient to form a belief about the truth of the remainder of Paragraph 24; therefore,
                                    17 it denies the same.
                                    18 25.    AFNI denies Paragraph 25 as to itself. AFNI lacks knowledge or information
                                    19 sufficient to form a belief about the truth of the remainder of Paragraph 25; therefore,

                                    20 it denies the same.
                                    21 26.    AFNI denies Paragraph 26 as to itself. AFNI lacks knowledge or information
                                    22 sufficient to form a belief about the truth of the remainder of Paragraph 26; therefore,
                                    23 it denies the same.
                                    24 27.    AFNI denies Paragraph 27 as to itself. AFNI lacks knowledge or information
                                    25 sufficient to form a belief about the truth of the remainder of Paragraph 27; therefore,
                                    26 it denies the same.
                                    27                                           COUNT I
                                    28 28.    AFNI repeats the above responses as if fully set forth herein.
                                                                                   3
                                                                                ANSWER
                                   Case 2:22-cv-07831-MEMF-KS Document 7 Filed 11/03/22 Page 5 of 8 Page ID #:63




                                     1 29.    AFNI admits Plaintiff brings an action under the California Identity Theft Law,
                                     2 Cal. Civ. Code §§ 1798.92, et seq. (the “CITL”). AFNI denies any violation of this
                                     3 statute. AFNI further denies that Plaintiff is entitled to any relief or damages sought
                                     4 against it.
                                     5 30.    AFNI lacks knowledge or information sufficient to form a belief about the truth
                                     6 of Paragraph 30; therefore, it denies the same.
                                     7 31.    AFNI denies Paragraph 31 as to itself. AFNI lacks knowledge or information
                                     8 sufficient to form a belief about the truth of the remainder of Paragraph 31; therefore,
                                     9 it denies the same.
                                    10 32.    AFNI denies Paragraph 32 as to itself. AFNI lacks knowledge or information
                                    11 sufficient to form a belief about the truth of the remainder of Paragraph 32; therefore,
                                    12 it denies the same.
11440 W. Bernardo Ct., Suite 300
    GOODMAN LAW FIRM, APC




                                    13 33.    AFNI further denies that Plaintiff is entitled to any relief or damages sought
     San Diego, CA 92127




                                    14 against it.
                                    15 34.    AFNI denies Paragraph 34 as to itself. AFNI lacks knowledge or information
                                    16 sufficient to form a belief about the truth of the remainder of Paragraph 34; therefore,
                                    17 it denies the same.
                                    18                                          COUNT II
                                    19 35.    AFNI repeats the above responses as if fully set forth herein.
                                    20 36.    AFNI denies Paragraph 36 as an incomplete and/or inaccurate statement of law.
                                    21 37.    AFNI denies Paragraph 37 as an incomplete and/or inaccurate statement of law.
                                    22 38.    AFNI denies Paragraph 38 as an incomplete and/or inaccurate statement of law.
                                    23 39.    AFNI admits Plaintiff is a natural person. AFNI lacks knowledge or
                                    24 information sufficient to form a belief about the truth of the remainder of Paragraph
                                    25 39; therefore, it denies the same.
                                    26 40.    AFNI admits that at times it acts as a debt collector. However, AFNI lacks
                                    27 knowledge or information sufficient to determine whether it engaged in “debt
                                    28

                                                                                   4
                                                                                ANSWER
                                   Case 2:22-cv-07831-MEMF-KS Document 7 Filed 11/03/22 Page 6 of 8 Page ID #:64




                                     1 collection” or acted as a “debt collector” as defined by the FDCPA and/or RFDCPA
                                     2 in this particular matter; therefore, it denies the same.
                                     3 41.     AFNI denies Paragraph 41 as to itself. AFNI lacks knowledge or information
                                     4 sufficient to form a belief about the truth of the remainder of Paragraph 41; therefore,
                                     5 it denies the same.
                                     6 42.     AFNI further denies that Plaintiff is entitled to any relief or damages sought
                                     7 against it.
                                     8 43.     AFNI admits Plaintiff brings an action under the Rosenthal Fair Debt
                                     9 Collection Practices Act, Cal. Civ. Code § 1788 et seq. (the “RFDCPA”). AFNI
                                    10 denies any violation of this statute. AFNI further denies that Plaintiff is entitled to any
                                    11 relief or damages sought against it.
                                    12                                           COUNT III
11440 W. Bernardo Ct., Suite 300
    GOODMAN LAW FIRM, APC




                                    13 44.     AFNI repeats the above responses as if fully set forth herein.
     San Diego, CA 92127




                                    14 45.     AFNI denies Paragraph 45 as an incomplete and/or inaccurate statement of law.
                                    15 46.     AFNI admits that at times it acts as a debt collector. However, AFNI lacks
                                    16 knowledge or information sufficient to determine whether it engaged in “debt
                                    17 collection” or acted as a “debt collector” as defined by the FDCPA and/or RFDCPA
                                    18 in this particular matter; therefore, it denies the same.
                                    19 47.     AFNI denies Paragraph 47 as an incomplete and/or inaccurate statement of law.
                                    20 48.     AFNI denies Paragraph 48 as to itself. AFNI lacks knowledge or information
                                    21 sufficient to form a belief about the truth of the remainder of Paragraph 48; therefore,
                                    22 it denies the same.
                                    23 49.     AFNI further denies that Plaintiff is entitled to any relief or damages sought
                                    24 against it.
                                    25 50.     AFNI admits Plaintiff brings an action under the Fair Debt Collection Practices
                                    26 Act, 15 U.S.C. § 1692, et seq. (the “FDCPA”). AFNI denies any violation of this
                                    27 statute. AFNI further denies that Plaintiff is entitled to any relief or damages sought
                                    28 against it.

                                                                                     5
                                                                                 ANSWER
                                   Case 2:22-cv-07831-MEMF-KS Document 7 Filed 11/03/22 Page 7 of 8 Page ID #:65




                                     1                                    PRAYER FOR RELIEF
                                     2 51.    AFNI denies Plaintiff’s prayer for relief and its subparts. AFNI further denies
                                     3 that Plaintiff is entitled to any relief or damages sought against it.
                                     4                                        TRIAL BY JURY
                                     5 52.    AFNI admits Plaintiff seeks a jury trial in this matter.
                                     6                                 AFFIRMATIVE DEFENSES
                                     7 53.    Any violation, if it occurred, was the result of bona fide error.
                                     8 54.    Plaintiff’s damages, if any, were pre-existing damages not caused by AFNI.
                                     9 55.    Plaintiff has failed to mitigate damages if any.
                                    10 56.    Plaintiff proximately caused his own damages, if any.
                                    11 57.    Plaintiff’s damages, if any, were caused by a third party over which AFNI had
                                    12 no control.
11440 W. Bernardo Ct., Suite 300
    GOODMAN LAW FIRM, APC




                                    13        WHEREFORE,          PREMISES       CONSIDERED,          Defendant   AFNI,     Inc.
     San Diego, CA 92127




                                    14 respectfully prays that Plaintiff take nothing herein, that AFNI be dismissed with their
                                    15 costs, and all other and further relief, at law or in equity, to which AFNI may be justly
                                    16 entitled.
                                    17 Dated: November 3, 2022                GOODMAN LAW FIRM, APC
                                    18
                                                                              By: /s/ Brett B. Goodman
                                    19                                           Brett B. Goodman
                                                                                 Attorneys for Defendant
                                    20                                           AFNI, Inc.
                                    21
                                    22
                                    23
                                    24
                                    25
                                    26
                                    27
                                    28

                                                                                    6
                                                                                 ANSWER
                                   Case 2:22-cv-07831-MEMF-KS Document 7 Filed 11/03/22 Page 8 of 8 Page ID #:66




                                     1                            CERTIFICATE OF SERVICE
                                     2        I certify that on November 3, 2022, a copy of the foregoing was filed and
                                     3 served electronically in the ECF system. Notice of this filing will be sent to the
                                     4 parties of record by operation of the Court’s electronic filing system. Parties may
                                     5 access this filing through the Court’s system.
                                     6
                                     7 Dated: November 3, 2022
                                     8
                                                                            By: /s/ Brett B. Goodman
                                     9                                         Brett B. Goodman
                                    10
                                    11
                                    12
11440 W. Bernardo Ct., Suite 300
    GOODMAN LAW FIRM, APC




                                    13
     San Diego, CA 92127




                                    14
                                    15
                                    16
                                    17
                                    18
                                    19

                                    20
                                    21
                                    22
                                    23
                                    24
                                    25
                                    26
                                    27
                                    28

                                                                                   1
                                                                        CERTIFICATE OF SERVICE
